    Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 1 of 86 Page ID #:6316




        Mi17 - Flight Crew
        Pilot and Co-Pilot
        $300 X 2 = $600


        Flight Engineer
        $200 X 1 = $200


        $800 per helicopter x 2 = $1 ,600 per day

         x 30 days = $48,000 per month

         12 month base salary $576,000.00

         KnR Insurance= $200 per person per day x 30 = $18,000 per month
         Life Insurance= $150 per day x 3 = $13,500 per month
         Medical Insurance = $100 per day per person x 30 = $9,000 per month
         Medivac Insurance= $100 per day per person x 30 = $9,000 per month

         12 month insurance costs $49,500 per month


         12 month cost $1,170,000.00


         Hazardous Duty Pay 10% = $1 17,000.00

         Daily per diem $100 x 3 = $300 x 30   = $9 ,000 per month
         $108,000

         Housing and Security $12,000 per month
         $144,000

        Airline Flights $2,000 x 3 = $6,000
        $36,000



         Total $1 ,575,000


         Mercenaries Ltd Project Management Fee $315,000

         12 Month Grand Total $1 ,890,000

         Monthly Cost $157,500




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                                          Ghanem_Sentencing_00000896
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 2 of 86 Page ID #:6317




    M i24 - Flight Crew
    Pilot and Co-Pilot
    $500 X 2 = $1 ,000


    Flight Engineer
    $200   X   1= $200


    Weapons Systems Engi neer
    $200 X 1 = $200


    $1 ,400 per Helicopter x 2 = $2,800 per day


    x 30 Days = $84,000 per month
    12 month base contract $1,008,000.00


    KnR Insurance= $200 per person per day x 30 = $24,000 per month
    Life Insurance= $150 per day x 4 = $18,000 per month
    Medical Insurance = $100 per day per person x 30 = $12,000 per month
    Medivac Insurance= $100 per day per person x 30 = $12,000 per month

    12 month insurance costs $66,000 per month


    12 month cost $1,800,000.00



    Hazardous Duty Pay 10% = $180,000.00

    Daily per diem $100 x 4 = $400 x 30 = $12 ,000 per month
    $108,000

    Housing and Security $12 ,000 per month
    $144,000

    Airline Flights $2,000 x 4 = $8,000
    $48,000


    Total $2,280,000


    Mercenaries Ltd Project Management Fee $456,000


    12 Month Grand Total $2,736,000

    Monthly Cost $228,000




                                                                           Ghanem 00000241
                                      Ghanem_Sentencing_00000897
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 3 of 86 Page ID #:6318




    GSE

    1 Engineer

    2 Mechanics

    2 Technicians

    1 Weapons Engineer



    $200   X   6 = $1,200

    x 30 Days = $36,000 per month
    12 month base contract $432,000.00


    KnR Insurance= $200 per person per day x 30 = $36,000 per month
    Life Insurance= $150 per day x 6 = $27,000 per month
    Medical Insurance = $100 per day per person x 30 = $18,000 per month
    Medivac Insurance= $100 per day per person x 30 = $18,000 per month

    12 month insurance costs $99,000 per month


    12 month cost $1 ,188,000.00



    Hazardous Duty Pay 10% = $118,000.00



    Daily per diem $150 x 6 = $900 x 30 = $27,000 per month
    $162,500

    Housing and Security $33,000 per month
    $396,000

    Airline Flights $2,000 x 6 = $12,000
    $72,000



    Total $1,903,500


    Mercenaries Ltd Project Management Fee $387,300


    12 Month Grand Total $2,290,800

    Monthly Cost $190.900




                                                                           Ghanem 00000241
                                      Ghanem_Sentencing_00000898
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 4 of 86 Page ID #:6319




    Ml17 Helicopter Pilot Cost

    12 Month Grand Total $1 ,890,000
    Monthly Cost $157,500




    Ml24 Helicopter Pilot Cost

    12 Month Grand Total $2,736,000
    Monthly Cost $228,000


    GSE

    12 Month Grand Total $2,290,800
    Monthly Cost $190.900




    Grand T otal Cost $6,916,800

    Monthly Cost $576,400




    $1 ,729,200 Deposit (3 months)




    Mercenaries Ltd Project Management Fee $387 ,300
    Mercenaries Ltd Project Management Fee $315,000
    Mercenaries Ltd Project Management Fee $456,000


    Net Profit of Mercenaries Ltd Project Management Fee $1 ,158,300




                                                                       Ghanem 0000024 1
                                       Ghanem_Sentencing_00000899
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 5 of 86 Page ID #:6320




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            719

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000900
    Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 6 of 86 Page ID #:6321


   From:              Rami Ghanem <ramithe@gmail.com>
   Sent:              Thursday, November 13, 2014 3:27 AM
   To:                Mohd <aldaboubim@gmail.com>
   Subject:           Crew.xlsx
   Attach:            Crew.xlsx: Crew offer.docx




   <<... >><<... >>




00096192.pdf                                                            Ghanem 00000241
                                          Ghanem_Sentencing_00000901
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 7 of 86 Page ID #:6322




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    00096193                                                                                                 Ghanem_00000241


                                       Ghanem_Sentencing_00000902
                                                                                                                                                       NO\•ember 1 L 2014

                                                                           Subject: Offer for A1ial and Ground Crew emplo)1nent

                                        Further to our your requirement for Arial and Ground Crew of Mi-24 Helicopters , we have made the arrangement and have
                                        already found the professional Group follows :
                                        The offer given is upon the service condition at the destination, missions and habitat .

                                        The Arial and Technicians Group include 2 Arial teams and ] technician team.
                                        The mission is for one year (12 month)
                                        Functionary as follows :

                                                           Functionaries               For one       For second      Total
                                                                                        team           team       Functionaries
                                            / Captain                                     1               1             2
                                            /   Co Pilot                                  I              1             2
                                            ../ Flight Engineer                           1              1             2
                                            / Ilelicogter Technicians




Ghanem_Sentencing_00000903
                                                - Had engineer for Engine and Arms               1                     1          Will be the chief of the Group
                                                - Engine Technician                              1                     1
                                                - Radio and Avionic Technician                   ]                      ]

                                                -Arms Technician                                 1                      1
                                                                                       Total Functionaries :           10
                                                                                                                                                                                      Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 8 of 86 Page ID #:6323




                             00096194.pdf                                                                                                                          Ghanem_0000024 1
                             Functionary's Monthly salary of Service costs

                                                                             Salary price
                                                 Functio nal                 per m onth in               remarks
                                                                                 USD
                               Captain                                          12,428
                               Co Pilot                                         '11,715
                              Flight Engineer                                   11,715

                              Had engineer for Engine and Arms                  11,785
                              Engine Technician                                  9,57 1
                              Radio and Avionic Techni cian                      9,57 1
                              A.rms Technician                                   9,571


                             Additional costs

                              Per Dim (daily for each Function                               50




Ghanem_Sentencing_00000904
                                                                                                  One of the Functionary will be the
                             Translator addition amount per month                            50
                                                                                                  translator
                                                                                                  In reasonable habitat.
                             Fu ll Hospitality
                                                                                                  Tents habitat will be 50 Usd charged
                                                                                                  Insurance policy must to be issued by
                             General Insurance and Health [nsurance                               the Supplier In Uhaine, and will paid
                                                                                                  bv the emoloyer
                             Flight Tickets
                             - Arrival from East Europe to the destination
                                                                                                                                                            Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 9 of 86 Page ID #:6324




                                                                                                                                          Ghanem_00000241
                             - Departure from the destination back To East Europe
                             - Flight Tickets each 6 Month for vacation in East Europe
                               (Departure and back .l\rrival)
                             Visa                                                                150
                                                                                                 200
                             One night hotel in Kiev before departure
                                                                                                 5000
                             Mobi lization fees (onetime / each person)


                             Obligations
                             The SUPPLIER
                             Will collect the Provisional Crew
                             Will submit the professional Certificates of the Qi lots and Technicians
                             Salary payments in Ukraine or in the destination account
                                                                                                        Insurance policy must to be issued by the
                             General Insurance and Health Insurance                                     Supplier rn Ukraine, and will paid by the
                                                                                                        employer
                             replace any or each Foremen this will not be productive




Ghanem_Sentencing_00000905
                             One night hotel in Kiev before depaiture                                   Will be paid by the employer
                             Full scullery at the vacation period

                             Th~EMPLOYE~
                             Full Hospitality
                                                                                                                                                                      Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 10 of 86 Page ID #:6325




                                                                                                                                                    Ghanem_00000241
                                                                                                           The policy will be issued by the Supplier In
                              General Insurance and Health Insurance                                       Ukraine and the cost will be cover by the
                                                                                                           Employer
                              flight Tickets
                                - Arrival from East Europe to the destination
                                - Departure from the destination back To East Europe
                                - Flight Tickets each 6 Month for vacation in East Europe (Depa11ure
                                 and back An-ival)
                              Professional data books of the Mi -24 Helicopters
                             Pilot Helmets for the Mi-24 Pilot


                             Payment:
                             First 3 month payment and additional costs in advance, as well as Tickets for arrival and depa1iure
                             Then Each 3 month costs in advance
                             Payment will be transfer to the Suppl ier up to the l 0th of each month




Ghanem_Sentencing_00000906
                                                                                                                                                                            Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 11 of 86 Page ID #:6326




                                                                                                                                                          Ghanem_00000241
                                                                   Subject: requirements for new Mi 24 pilot

                             1. The list below includes the requirements that the new pi lot will be able to achieve.
                             2. The list is sorted by order of importance.

                                    a. The pilot is capable to speak and understand English (Including terms from the flight world).
                                    b. The pilot has history as an instructor ofMi-24.
                                    c. The pilot flew a Mi 24 in the past 3 years.
                                    d. The pilot has at least LOOO hours on Mi-24.
                                    e. The pilot worked in Africa before as a fighter pilot (Advantage).
                                    f. The pilot flew N ight sorties on Mi 24 in the past 3 year.
                                   g . The pilot has no history of getting expelled out of a program before (advantage).
                                    h. The pilot has some knowledge about advanced avionics (advantage).




Ghanem_Sentencing_00000907
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                                                                                                                                       Ghanem_00000241
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 13 of 86 Page ID #:6328




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            720

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000908
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 14 of 86 Page ID #:6329


   F rom:               Rami Ghanem <ramithe@gmail.com>
   Sent:                Thursday, December 4, 2014 4:54 PM
   To:                  tomasweis9@gmai I.com
   Subject:             RE: Contact


   Can you get me a complete crew for the Fl? For 2 aircrafts ( 2 pilots, 4
   technical guys)

   I am looking for 2 Su 24 or MiG ready for deliver. do you have? With U1eir
   crews

   Regards

   -----Original Message-----
   From: tomasweis9@gmail.com [m.wJ.tQJ9..m~.i;;w~i§9..@grn!'!».,.9.R.m)
   Sent: Thursday, December 4. 2014 1:55 AM
   Tu: Ghantmt Rami
   Su~ject: Contact

   Good Evening.
   Its too laLe, please call me tomorow morning about 10:00.
   Thanke you
   Thomas




00093802.pdf                                                                     Ghanem 0000024 1
                                                    Ghanem_Sentencing_00000909
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 15 of 86 Page ID #:6330




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        721

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000910
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 16 of 86 Page ID #:6331


   From:           Gerton Business <g erton.businessll p@gmail .com>
   Sent:           Friday, December 12, 2014 5:08 PM
   To:             Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:
   Attach:         costs sumary (39).xlsx




   hotel and glight tickets you know better




00093219.pdf                                                           Ghanem 00000241
                                          Ghanem_Sentencing_00000911
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 17 of 86 Page ID #:6332




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 18 of 86 Page ID #:6333




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT       722

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000913
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 19 of 86 Page ID #:6334


   F rom:      Rami Ghanem <ramithe@gmail.com>
   Sent:       Sunday, December 14, 2014 12:35 PM
   To:         Mohd <aldaboubim@gmail.com>
   Subject:    139 passports
   Attach:     Grygorit Sherstobitov.jpg; Pavlo Kanilov passport.jpg: Volodymyr Gurevski.jpg;
               VolodymyrNikitin .jpg; Yuriy Galenko.j pg




00092993.pdf                                                                             Ghanem 0000024 1
                                    Ghanem_Sentencing_00000914
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 20 of 86 Page ID #:6335




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 25 of 86 Page ID #:6340




                                               CASE NO.   CR 15-0704 (A)-SJO
                                                     UNITED STATES OF AMERICA
                                                VS.     GHANEM

                                               PLAINTIFF=S EXHIBIT          723

                                               DATE                               IDEN.

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   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 26 of 86 Page ID #:6341


   From:            CT0$1H HuKOJJOB   <stoqnnikolov@yandex.com>
   Sent:            Saturday, April 25 , 2015 8: 18 A.VI
   To:              Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:         Re: Questions
   Attach:          driver fl draft 25042015.doc; tech fl draft 25042015.doc; NDA.doc



   Ramy,

   I tried to reduce to the minimum size the contracts, so crewman don' t get scared.

   I refrained from using sophisticated language, besides in the NDA where it serves as a threat.



   l avoided the following miscellaneous questions and details, among others - no pets, not allowed stuff in the
   compounds - alcohol/drugs, personal guns.

   Possible questions of smart-heads, which I intentionally skipped - criminal indemnity, taxation indemnity,
   holidays and expenses from/to home country, pararescue, actions in case of captivity - insurance for kidnap and
   ransom enough not mentioned.



   Why serbian law - they made it illegal to be mercenary, so no one can actually go to the court there witil thjs
   contract. If You have in mind other similar location, put it instead.



   Waiting Your comments.

   s




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                                           Ghanem_Sentencing_00000921
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 27 of 86 Page ID #:6342



                                                    AERIAL SERVICES CONTRACT

              On this ... April 2015, between
     1. . .... .. .... ........ ...... .... , registered .. ... ...... ... ......... ... .. , with registered office at ... ............. ... ... .. ,
     hereinafter referred to as "Mandator'' as one of the parties,

     and
     2 . .............................................. born on .... ... . , having passport ............... ....... issued by
     ..... ..... .. ........ . , with permanent address at .. ...... .... .... ...... ....... , hereinafter referred to as "Contractor''
     as the other party,

             1.     The Mandator requires from the Contractor the services of piloting of Mirage F1
     aircraft (the "Services"). The Services are direct force action against members, vehicles, equipment
     and positions of "Islamic state" and "Al-Qaeda" associates terrorist organisations and in support of
     the national security of Libya. The Services need to result in destruction/immobilisation of described
     targets.

           2.    The Contractor, acting as independent contractor, undertakes the provision of the
     Services under the conditions of this agreement.

              3.        The place of the Services is Libya, including its air-space and international air-space.

           4.     The contract is valid for ..... ... period. Starting date of the Services is the date of
     Contractor's arrival at ...... ... .

             5.     The Contractor undertakes to execute any and all of his obligations under this
     agreement with due diligence, at the highest professional level , with skill and to the best of his
     ability, while maintaining a high professional standard, all subject and in accordance with the
     Mandator's needs, instructions and supervision.
                    Whi le delivering the Services, the Contractor shall be fully under the operational
     control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who will
     be solely responsible for their supervision, daily direction and control.
                    Missions will be planned and organised based on international military standards in
     military conflict conditions.
                    Services shall be delivered on 24/7 basis.

            6.     The Mandator undertakes to provide the Contractor with all the materials,
     consumables, etc. , concerning the provision of the Services, as well as any information, required by
     the Contractor, necessary for the proper performance of his duties.
                   The Mandator undertakes to provide the Contractor for execution of the Services with
     operational and equipped aircraft.
                   The Mandator undertakes to provide the Contractor:
            - with full hospitality of minimum 3 star accommodation on room and board basis;
            - life insurance;
            - health insurance;
                   Insurances could be dealt by the Contractor and expenses reimbursed by the
     Mandator, based on preliminary approval of the insurance policy and cost.




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 28 of 86 Page ID #:6343



       7.         Remuneration of the Contractor for due delivery of his Services is agreed to be ....... .
 monthly.
                As a guarantee for the due performance of this agreement a 15% deposit is to be
 withhold from each payment by the Mandator and shall be payed upon the Contractor's obligations
 fulfillment and termination of this agreement.
                Payment of the remuneration is monthly, between the 1st and the 5th of each month in
 cash against receipt or by wire transfer to the following bank account: .. ................ .. .... .. ...... .
                Each party shall be responsible for its own taxes, social security payments and/or
 banking charges , etc. , in relation to this agreement.

         8.    The Contractor fully indemnifies the Mandator for any and all damages to health, life,
 profits, equipment and personal belongings, given the life and health insurance policies are validly
 issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the heirs
 claim against the Mandator any payments for compensation, damage etc., the Mandator is entitled
 to a compensation lump sum against the Contractor's property/inheritance to the amount of the
 claims.

        9.     Independent Contractor:  Contractor acknowledges that he shall perform his
 obligations hereunder as an independent contractor and not as an employee nor agent of the
 Mandator. Contractor further acknowledge that he is not on Mandator's payroll and social security
 or tax withholding rolls.

        10.       This contract is terminated:
                  upon its term expiration;
              -   by unilateral notification by the Mandator in case the Contractor fails to provide the
                  required quality of Services - in such case the performance deposit of the Contractor
                  serves as a compensation to the Mandator.

        11. All disputes that may arise in connection with the performance of the present contract
 shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
 shall be governed by and construed in accordance with Serbian Law by the courts in Belgrade.

 This Agreement has been signed in two uniform copies, for each of the Parties.




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                                     Ghanem_Sentencing_00000923
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 29 of 86 Page ID #:6344



                                                TECHNICAL SERVICES CONTRACT

              On this ... April 2015, between
     1. ..... .. .... ........ ...... ...., registered .. ... ...... ... ......... ... .. , with registered office at ... ............. ... ... .. ,
     hereinafter referred to as "Mandator'' as one of the parties,

     and
     2 . .............................................. born on .... ... ., having passport ............... ....... issued by
     ..... ..... .. ........ ., with permanent address at .. ...... .... .... ...... ......., hereinafter referred to as "Contractor''
     as the other party,

           1.    The Mandator requires from the Contractor the services of Engine mechanic /
     Armament and Arming Technician I Aeronautical and Radio electrician / Body Technician for
     maintenance and repair of Mirage F1 aircraft (the "Services").

            2.    The Contractor, acting as independent contractor, undertakes the provision of the
     services under the conditions of this agreement.

              3.        The place of the Services is Libya.

           4.     The contract is valid for .. .. ... . period. Starting date of the Services is the date of
     Contractor's arrival at ......... .

             5.     The Contractor undertakes to execute any and all of his obligations under this
     agreement with due diligence, at the highest professional level, with skill and to the best of his
     ability, while maintaining a high professional standard, all subject and in accordance with the
     Mandator's needs, instructions and supervision.
                    Wh ile delivering the Services, the Contractor shall be fully under the operational
     control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who will
     be solely responsible for their supervision, daily direction and control.
                    Services shall be delivered on 24/7 basis.

            6.     The Mandator undertakes to provide the Contractor with all the materials,
     consumables, etc., concerning the provision of the Services, as well as any information, required by
     the Contractor, necessary for the proper performance of his duties.
                   The Mandator undertakes to position the Contractor for execution of the Services in
     operational and equipped maintenance warehouses in a zone free from hostile activities.
                   The Mandator undertakes to provide the Contractor:
            - with full hospitality of minimum 3 star accommodation on room and board basis;
            - life insurance;
            - health insurance;
                   Insurances could be dealt by the Contractor and expenses reimbursed by the
     Mandator, based on preliminary approval of the insurance policy and cost.

           7.           Remuneration of the Contractor for due delivery of his Services is agreed to be ..... ...
     monthly.




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 30 of 86 Page ID #:6345



                As a guarantee for the due performance of this agreement a 15% deposit is to be
 withhold from each payment by the Mandator and shall be payed upon the Contractor's obligations
 fulfillment and termination of this agreement.
                Payment of the remuneration is monthly, between the 1st and the 5th of each month in
 cash against receipt or by wire transfer to the following bank account: ......... .. ... .................. .
                Each party shall be responsible for its own taxes , social security payments and/or
 banking charges, etc. , in relation to this agreement.

         8.    The Contractor fully indemnifies the Mandator for any and all damages to health, life,
 profits, equipment and personal belongings, given the life and health insurance policies are validly
 issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the heirs
 claim against the Mandator any payments for compensation, damage etc., the Mandator is entitled
 to a compensation lump sum against the Contractor's property/inheritance to the amount of the
 claims.

        9.     Independent Contractor:  Contractor acknowledges that he shall perform his
 obligations hereunder as an independent contractor and not as an employee nor agent of the
 Mandator. Contractor further acknowledge that he is not on Mandator's payroll and social security
 or tax withholding rolls.

        10.       This contract is terminated:
              -   upon its term expiration;
              -   by unilateral notification by the Mandator in case the Contractor fails to provide the
                  required quality of Services - in such case the performance deposit of the Contractor
                  serves as a compensation to the Mandator.

        11. All disputes that may arise in connection with the performance of the present contract
 shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
 shall be governed by and construed in accordance with Serbian Law by the courts in Belgrade.

 This Agreement has been signed in two uniform copies, for each of the Parties.




                                                                                                            2



                                                                                           Ghanem 00000241
                                     Ghanem_Sentencing_00000925
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 31 of 86 Page ID #:6346



                                                 NON - DISCLOSURE AGREEMENT

          On this ... April 2015, between

          1 . ........................... .. , registered ..... ....................... , with registered office at ...................... .. ,
          hereinafter referred to as "Mandator'' as one of the parties,

          and

          2. . ............................................ , born on ........ , having passport .................... ..issued by
          ......... ... ..... .... , with permanent address at ................ .... ........ ., hereinafter referred to as
          "Contractor" as the other party,

                                                                     Preamble

          WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the 'Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator's organisational structure and operations, including financial
          and accounting information, descriptions of equ ipment, information regarding human resources,
          available inventory, operational methods and technological solutions, as well as cases from the
          Mandator's practices (subsequently referred to as "information");

          WH EREAS, for the purposes of this Agreement information means any and all information in
          whatever form disclosed orally or in writing/electronically, together any reproductions of such
          information in any form or medium or any part of such information, whether disclosed before or
          after the date of this Agreement.

          The Parties NOW THEREFORE agree as follows:

                                                     Art.1 . Subject of the Agreement

          1.The Parties agree that either Party receiving information from other Party shall treat this
          information as entrusted business secrets with strictest confidentially, shall not disclose this
          information to any third party and shall take all necessary precautions that no unauthorised
          person receives knowledge thereof.

          2. At the same time, each Party hereto shall treat the existence and content of this
          Confidentiality agreement as confidential with respect to third parties.

                                                     Art.2 . Obligations of the parties

          1. Both Parties undertake to treat the other Party's information as confidential for an unlimited
          period of time , to use it solely for the purpose of performing the obligations undertaken
          according to any oral or written agreements between the Parties.

          2. Under any circumstances either of the Parties is not allowed to disclose any information or
          part of it to any third party. For the purpose of th is agreement "third party" includes any family
          members and any other contractors of the same Mandator.

          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other
          Party in their possession. Either Party is obliged to destroy immediately any information in its
          possession when it is endangered of transfer to any third Party. For the purpose of th is
          agreement any and all disclosures and or transfers of information to any third party shall


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      constitute a wilful misconduct in breach of this agreement.

      4. The obligation to maintain confidentiality under this agreement shall not apply to:

          a) Information that is generally available to the public other than as a breach of this
             Confidentiality agreement;
          b) Information that was already lawfully in the possession of either of the Parties hereto
             prior to the effective date of this Confidentiality agreement without having been obtained
             from the other Party or from an associate of the other Party.

      5. Evidence that one of the foregoing exceptions applies shall be available before use or
      disclosure of the information .

      6. Prior to the termination of all existing agreements between the Parties. besides this
      Agreement, the Contractor undertakes to immediately return to the Mandator any and all
      information.

                                              Art.3. Sanctions

      1. Should any breach of this agreement occurs , the defaulting Party is ob liged to compensate
      the other Party with the payment of a lump sum to the amount of .......... .... ..

      2. The above-stated payment does not bar the other Party to seek further compensation to the
      amount of the losses suffered and missed profits.

      3. The payments under this article do not exhaust the sanctions against the defaulting Party.
      The other Party is entitled to procure criminal proceedings according to the applicable law.

                                       Art.4. Settlement of Disputes

      1. All disputes that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements shall
      be governed by and construed in accordance with Libiyan Law.

      2.      In the event that a dispute arises in connection with the interpretation and implementation
      of this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise
      it shall be final ly settled by the proper Tripoli Court.

                                          Art.5. Entire agreement

      This agreement constitutes the entire understanding between the Mandator and the Contractor
      and cannot be altered and modified except by an agreement in writing signed by both parties.

                                             Art.6. Severability

      1. Should one or more of the provision of this Agreement be held unenforceable or invalid for
      any reason, the remaining provisions shall remain unaffected.

      2. Taking into account the economic purpose of this contract and utilising the legal methods of
      the interpretation , conversion and amendment, the parties undertake to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives effect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.

      This Agreement has been signed in two uniform copies, for each of the Parties.

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                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            724

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   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 35 of 86 Page ID #:6350


   From:       Gerton Business <gerton.businessll p@gmail .com>
   Sent:       Tuesday, May 5, 2015 2:20PM
   To:         Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:    pilot contract
   Attach:     Aerial Services contract I.doc




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   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 36 of 86 Page ID #:6351



                                            AJ::R.IA L SERVI CES CONTRACT

                    On this 05 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. PO. Box 950601 Amman 11195 Jordan, hereinafter referred to as " Mandator" as
          one of the parties,
          and
          2. Reyes Cuenca Aug usto Borys, born on 28.02.1977, having passport A 2940243 issued by ECU,
          with permanent address at Ecuador, Quito, StTeet Nazacota Puento N OE3 -498, hereinafter referred
          to i:lS "ConLractor" as the other party,

                  I.       The Mandator requires from the        Contractor the services of piloting of Mirage Fl
          aircraft (the " Services"). The Services are d irect   force action against members, vehicles, equipment
          and positions of "Islamic state' · and ' ·Al-Qaeda"    associates terrorist organisations and in support of
          the national security of Libya The Se rvices            need to result in destruction/immobilization of
          described targets.

                 2.     The Contractor, acting as independent contractor, undertakes the provision of the
          Services under the conditions of this agreement.

                 3.      The place of the Services is L ibya, including its air-space and international air-space.

                   4.     The contract is valid fo r 90days period with posible extencion for ~mother 90 days.
          Starting date of the Services is the date of Contractor' s arrival at 10.05.2015
                  5.      The Contractor undertakes to execute any and all of his obligations under this
          agreement with d ue diligence, at the highest professional level, with skill and to the best of his
          ability, while maintaining a high professional standard, all subject and in accordance with the
          Mandator' s needs, instructions and supervision.
                          While delivering the Services, the Contractor shall be fully under the operational
          control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who
          will be solely responsible for thei r supervision, dai ly direction and control.
                          M issions will be planned and o rganised based on international military standards in
          military conflict conditions.
                          Services shal l be delivered daily as planed during the 24n basis.

                 6.      The Mandator undertakes to provide the Con tractor with all the materials,
          consumables, etc., concerning the provision of the Services, as well as any information, required by
          the Contractor, necessary for the proper performance of his d uties.
                         The Mandator undertakes to provide the Contractor fo r execution of the Services
          with operational and equipped a ircraft.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitality of minimum 3 5tar accommodation on room and board basis;
                 - life insurance:
                 - health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost.

                 7.    Remuneration of the Contractor for due delivery of his Services is agreed to be 20
          000 $ monthly.




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 37 of 86 Page ID #:6352



                    Payment of the remuneration is monthly, between the 251" and the 301" of each
      month in cash against receipt or by wire transfer to the following bank account: Banco GENERAL
      RUMINAHUl, acc. N 810] 125700. Beneficiary Milton Orlando Salazar Reyes
                    Each party shall be responsible for its o""n taxes, social security payments and/or
      banking charges, etc. , in relation to this agreement.

                8.    The Contractor full y indemnifies the Mandator for any and all damages to health,
      life, profits, equipment and personal belongings, given the life and health insurance policies are
      validly issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the
      heirs claim against lhe Mimdalor any payments for compensation, damage etc., lhe Man<lalor is
      en1itled to a compen5ation lump sum against the Contractor's property/inheritance to the amount of
      the claims.

              9.     Independent Contractor: Contractor acknowledges that he shall perform his
      obligations hereunder as an independent contractor and not as an employee nor agent of the
      Mandator. Contractor further acknowledge that he is not on Mandator's payroll and social security
      or tax withholding rolls.

                10.       This contract is terminated:
                      -   upon its term expiration;
                      -   by unilateral notification by the Mandator in case the Contractor fails to provide the
                          required quality of Services - in such case the performance deposit of the Contractor
                          serves as a compensation to the Mandator.

              11. All disputes thot may orise in connection with the performonce of the present controct
      shall be senled in the way of agreement. If this proves impossible all disputes and disagreements
      shall be goYerned by and construed in accordance with Serbian Law by the courts in Belgrade.

      This Agn:ernent has bet::n signed in two uniform copies, for each of the Parties.



      For and on behalf of the Mandator.                                 Contractor:


      Name: Banari Sergiu                                               Name: Reyes CuencaAugusto
                                                                        Borys

      Signature: ... .. . ..... ....... ...... ... ... ..               Signature:... ... ..... ....... ... .. . .. . ... . .

      For and on behalf of the Mandator:                       Contractor:




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                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT       725

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   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 39 of 86 Page ID #:6354


   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Wednesday, June 10, 2015 12:28 PM
   To:         Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:    1'1.i-24NEW !!!!!
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               (l).jpg; img187.jpg; img188.jpg; img_005.jpg; EopTa'ib.jpg; 2015526201941.jpg




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 52 of 86 Page ID #:6367




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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 54 of 86 Page ID #:6369
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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 55 of 86 Page ID #:6370
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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 56 of 86 Page ID #:6371




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        726

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000951
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 57 of 86 Page ID #:6372


   From :           Frederick Schroeder <schroederfred@hotmail.com>
   Sent:            Saturday, June 13, 2015 11:18 AM
   To:              ramithe@gmail.com; rami@caravaname.com
   Subject:         Misurata




   Rami, i sent the invoices to Sergui for payment

   The ticket from Do ha to 1ST was 315
   The ticket from 1ST to HKG was 635

   Total is 950. Can you please ask him to pay this on Monday.

   Rami it seems even when i first started here, you we re always too busy to talk. So now since i am not going
   back i want to tell you a few things. If you care or not does not matter, but th inking back to our face to face
   talk, i should have said them then .

   I don't know you, Sergu i, Mohammed or anyone. I took the time to come here from China, i could have easily
   flown back business class for free on Qatar to HKG. Now i am going economy and who knows if i'II even get
   reimbursed because so far i have not gotten one single penny.

   I took a leave from my employer of the last 5 years to come do this. I could have lost my job. I lost money since
   your not even paying me for the 10 days i was in Libya.

   First of all, whet her you think Sergui is a liar or not i can tell you 100 percent that the th ings said to BOTH Boris
   and I were not correct and or true.

   1. I was told i would only be fighting !SIS. This is important, because technically speaking both BORIS AND I
   could be found violating the neutrality act, where as US citizen (boris still is one) can not attack a RECOGNIZED
   government. If so, one is looking at 1 million dollar fine and 10 years in prison.

   2. I do not even know if you are compliant with ITAR, where in by we are possibly provid ing defense services.
   Violat ion of this act is 10 years and 1 million dollar fine.

   3. In our contract which i never even got it only said ISIS AND AL QUEDA. Thats obvio usly NOT TRUE, as they
   also wanted us to bomb the Tubroc side. So, there is another incorrect thing

   4. I was told by Sergui "oh the food, its sooo good, omg i cant stop eating so much, they have plenty of
   vegetarian " Rami this is highly intense flying, not delivering the mail. If we are to fly everyday and do this type
   of flying we need to eat well . Candy and popcorn is not vegetarian food, its junk food.

   5. I was told "yes, i send the guys to istanbul once per month for some free time" This again, was NOT true.
   Very much not true.

   When i got there, all was ok. It was not until this general showed up that things went south. For some reason i
   always felt he did not like me . And its not like he has t he greatest sense of humor.




00078942.pdf                                                                                           Ghanem-00072443
                                            Ghanem_Sentencing_00000952
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 58 of 86 Page ID #:6373


That is tota l bullshit that i tried to get him crews. Total absolute bullshit. We were sitting there, him, Boris, me
and Abdul and i simply asked out of pure curiosity do you need more L39 or Mig pilots. The general looked at
me and said i need CH47, can you get me those? HE DID THE SAME THING WITH BORIS about getting the TWO
TECHS!!!!!

Why the hell would i try to take business from you? I was always taught as a kid not to bite the hand that
feeds you.

I did not take Sergu i seriously after his msg to me about not paying me UNTIL BORIS SENT HIS FATHERS
PASSPORT COPY. That is ridiculous because Boris gave it to him a month ago! it was AFTER i gave him the
CORRECT SWIFTCODE that Sergui told me "IT WILL BE DONE ON MONDAY" Then i got that message on
MONDAY that oh, it will be done sometime this week because of Boris father passport. HOW CAN I TAKE HIM
SERIOUSLY AFTER ALL THE THINGS HE SAID WHICH ARE NOT IN FACT TRUE????????

So yes, i was not happy. Boris and i went to go speak to the general and Abdul Salam just happened to be
there. I said Sergui is a liar. yes i did. WHY? Well, as you read now you know. I spokee i about the pay. And
when Abdul told me and BORIS that he was told that HE WOULD HAVE 2 Fl PILOTS THAT CAN START
TOMORROW BOMBING, i told him that is not true. THATS WHAT I SAID. Must i lie to people? I am not a good
liar!

Then thats when Boris asked about his days off and the general said "IS IT IN YOUR CONTRACT?" From that
point on, i knew that anything Sergui said to me MEANT NOTHING. What can u expect?

Soi asked about my days off as told by Sergui. The general said no. I said can we compromise?

The next day, the general came in and i said i need these days as i dont want to fly single ship {meaning alone)
This is NOT just do to air to air threats but its for mutua l support!!! He told me to go back to 1ST, ta lk to you
and if i can work things out t o come back.

After i met with you, and you told me about the general saying these things about me, and also about Boris
going to apologize to him w hich i was told was ALSO not true, i think that there are way too many Chiefs and
not enough Indians running this show. That means it seems like everyone wants to be in command and make
decisions, but no one wants to do the work.

I am a very honest person that has integrity. You told me that "I would not fit in Libya" Rami i have been to 94
countries and lived in 12. I have been in MUCH WORSE PLACES then Libya. Libya was disneyland compared to
Afghan istan, Sudan, DRC, etc. I would have fit in perfect in libya IF YOU SAT DOWN WITH ME AND HAD A
HEART TO HEART TALK BEFORE I LEFT.

I had no idea that discussing vegetarian food, or days off would get me sent home so quickly. Who would have
thought this?

You have a well trained US NAVAL AVIATOR who has flown the Mirage (just last week) is honest, doesnt lie,
cheat or steal and you sent me home because your guy Sergui (oh i wish i had this on a record somewhere to
show you!) told me what t o expect and when i got there it was different and i asked questions. Isn't that a bit
overdramatic Rami?

You said a pilot only makes a mistake once. Wel l if that was the case, i wouldn't be here. Thats not true at all.




                                                                                                   Ghanem-00072443
                                        Ghanem_Sentencing_00000953
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 59 of 86 Page ID #:6374


I am not desperate for this job, but i am very pissed off about the amount of time i spenty STUDYING this
airplane, PLANNING to come here, and CHANGING my entire work schedule for the next 3 months! Its not
right.

I am sure you will not reply to this. Maybe like i said it doesn't mean much to you. We are both fathers you
and i, i would hope you being older than me would atleast take the time to consider this, all i have said and
realize that its such a complete waste if i go back to china. Actually had i not said to the general about the days
off, he would not have had such a knee jerk reaction about sending me. Plus i fin d it VERY strange that Sergui
promised BOTH Boris and i days off, and yet the general said to Boris they would discuss it later, but with me
he simply sent me home. If he didn't like me is one thing but he should have kept it professional.

Anyway, its up to you. If i leave tomorrow, i cannot come back. You said you have pilots from Gabon, well if
you worked with pure africans you will know thats NOT a good choice for MANY reasons. Greece and Spain
maybe, but i don't think they would stay and then you would lose time AGAIN. By the way, this job is posted
on the internet and has been put on some p ilot message boards already. just so you know Rami, the French
pilots that you contacted, well they are not saying too many good things about this job and they did not even
work there !

In any case, the decision rests with you . I told you man to man, and truthfully what happened. You don't have
to believe me, but i have no reason to lie. And thats just not who i am.

And since i made this mistake i was even wil ling to take a lower salary, just to smooth the waters over.
If you are keeping in your decision that i will not come back then please at least do the right thing and
reimburse me Monday for these tickets.

Thank you.




                                                                                                 Ghanem-00072443
                                       Ghanem_Sentencing_00000954
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 60 of 86 Page ID #:6375




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             727

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                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000955
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 61 of 86 Page ID #:6376


   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Sunday, June 14, 2015 5: 15 A.lVf
   To:         Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:    1\1.ig-25 budget
   Attach:     Mig-25 salary 3 moths.xlsx




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  Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 62 of 86 Page ID #:6377



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Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 63 of 86 Page ID #:6378




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        728

                                               DATE                                IDEN.

                                               DATE                                EVID.

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                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000958
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 64 of 86 Page ID #:6379


   F rom:              Rami Ghanem <ramithe@gmail.com>
   Sent:               Friday, June 19, 2015 8:03 Al\1
   To:                 gerton.businessllp@gmail.com
   Subject:            Emailing: - \VRL1513.tmp, - WRL3996.doc, NDA for Fl Services body stuctural.doc,
                       NDA for F 1 Services electronic.doc, NDA for Fl Services engine.doc, NDA for Fl
                       Services maintenance.doc, NDA for Fl Services Pi lot. doc, NDA for Fl Services
                       weapons.doc, Technica
   Attach:             - vVRL 1513.tmp: - WRL3996.doc; NDA for F l Services body stuctural.doc; NDA for F1
                       Services electronic.doc; NDA for F 1 Services engine.doc; NDA for F 1 Services
                       maintenance.doc; NDA for Fl Services Pilot.doc; NDA for Fl Services weapons.doc;
                       Technical Services Contract Garces.doc; Technical Services Contract Gonzalez.doc;
                       Technical Services Contract Ocana. doc; Technical Services Contract Tulcan.doc



   Your message is ready to be sent with the following file or link
   attachments:

   - WRLL5J3.tmp
   - WRL3996.doc
   NDA for Fl Services body stuctUJal.doc
   NOA for F I Services electronic.doc
   NDA for Fl Services engine.doc
   NDA for F 1 Seivices maintenance.doc
   NDA for Fl Services Pilot.doc
   NDA fur F 1 St::rvi(;t::S weapuus.doL:
   Technical Services Contract Garces.doc
   Tecbnical Services Contract Gonzalez.doc
   Technical Services Contract Ocana.doc
   Teclmical Services Contract Tulcan.doc


   Note: To protect against computer vi ruses. e-mail programs may prevent
   sending or receiving ce11ain types of fi le attaclm1enrs. Check your e-mail
   security senings co detennine how anachments are handled.


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                                                  Ghanem_Sentencing_00000959
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 65 of 86 Page ID #:6380



                                       Tl::::CHNICAL SERVICES CONTRACT

                  On this 04 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P 0 . Box 950601 Amman 11195 Jordan, hereinafter referred 10 as "Mandator" as
          one of the parties,
          and
          2. Garces Onate Manuel Mesias, born on 10.02. 1957, having passport A 5189834 issued by ECU,
          with permanent address at Ecuador, Milagro, Ciudadela Los Helechos MZ 4, Villa 5 hereinafter
          referred to as "Contractor" as the olher party,

                   I.    The Mandator requires from lhe Contractor the services of Mechanical Technician,
          Electrical Technician, Radio electrician Technician Cabling (Grid connection) Technician for
          installation, maintenance and repair of new renewable (wind) power station (the " Services").

                 2.     The Contractor, acting as independent contractor, undertakes the provision of the
          services under the conditions of this agreement.

                 3.     The place of the Services is Middle East & North Africa.

                  4.     The contrac1 is valid for 90 days period with posible extencion fo r another 90 days
          Starting date of the Services is the date of Contractor' s arrival at 10.05.2015

                  5.      The Contractor undertakes to execute any and all of his obligations under this
          agreement with due diligence, at the highest professional level, with skill and to the best of his
          ability, while maintaining a high professional standard, all subject and in accordance with the
          Mandator' s needs, instructions and supervision.
                          While delivering the Services, the Contractor shall be full y under the operational
          control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who
          will be solely responsible for their supervision, daily direction and control.
                          Services shall be delivered on 24/7 hasis.

                 6.      The Mandator undenakes to provide the Contractor with all the materials,
          consumables, etc., concerning 1he provision of the Services. as well as any information, required by
          the Contractor, necessary for the proper performance of his duties.
                         The Manda!or undertakes to position the Contraclor for execution of the Services in
          operational and equipped maintenance warehouses in a zone free from hostile activities.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitality of minimum 3 star accommodation on room and board basis;
                 - life insurance:
                     health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost

                  7.     Remuneration of the Contractor for due delivery of his Services is agreed to be 10
          000 $ monthly.
                         As a guarantee for the due performance of this agreement a 15% deposit is to be
          withhold from each payment by the Mandator and shall be payed upon the Contrnctor's obligations
          fulfillment and termination of this agreement.
                         Payment of the remuneration is monthly, between the 1st and the 5th of each month




00078698.pdf                                                                                        Ghanem-00072443
                                         Ghanem_Sentencing_00000960
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 66 of 86 Page ID #:6381



      in cash against receipt or by wire transfer to the following bank account: Hanco RUMlNAHUl,
      acc.N 8018625204 code CORRIENTE
                    Each party shall be responsible for its o,"n taxes, sociaJ security payments and/or
      banking charges, etc. , in relation to this agreement.

              8.      The Contractor fully indemnifies the Mandator for any and all damages to health,
      life, profits, equipment and personal belongings, given the life and health insurance policies are
      validly issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the
      heirs claim against the Mandator any payments for compensation, damage etc. , the Mandator is
      enlitle<l lo a compensation lump sum against the Contractor's properly/inheritance lo lhe amount of
      the claims.

              9.     Independent Contractor: Contractor acknowledges that he shall perform his
      obligations hereunder as an independent contractor and not as an employee nor agent of the
      Mandator Contractor further acknowledge that he is not on Mandator's payroJl and social security
      or tax withholding rolls.

               10.       This contract is terminated:
                     -   upon its term expiration;
                     -   by unilateral notification by the Mandat:or in case the ContTactor fails to provide the
                         required quality of Services - in such case the performance deposit of the Contractor
                         serves as a compensation to the Mandator.

              11. All disputes that may arise in connection with the performance of the present contract
      shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
      shall be governed by and construed in accordance with Serbian Law by the couns in Belgrade.

      This Agreement has been signed in two uniform copies, for each of the Pa1ties.


      For and on behalf of the Mandator.                                Contractor:


      Name: Banari Sergiu                                              Name: Tulcan Pozo Jose
                                                                       Miguel

      Signature: ..... . ......................... .                   Signature: ... ................ ............ .


      For and on behalf of the Mandator:                      Contractor:




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                                             Ghanem_Sentencing_00000961
   Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 67 of 86 Page ID #:6382



                                       Tl::::CHNICAL SERVICES CONTRACT

                  On this 04 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P 0 . Box 950601 Amman 11195 Jordan, hereinafter referred 10 as "Mandator" as
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          and
          2. Garces Onate Manuel Mesias, born on 10.02. 1957, having passport A 5189834 issued by ECU,
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          the Contractor, necessary for the proper performance of his duties.
                         The Manda!or undertakes to position the Contraclor for execution of the Services in
          operational and equipped maintenance warehouses in a zone free from hostile activities.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitality of minimum 3 star accommodation on room and board basis;
                 - life insurance:
                     health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost

                  7.     Remuneration of the Contractor for due delivery of his Services is agreed to be 10
          000 $ monthly.
                         As a guarantee for the due performance of this agreement a 15% deposit is to be
          withhold from each payment by the Mandator and shall be payed upon the Contrnctor's obligations
          fulfillment and termination of this agreement.
                         Payment of the remuneration is monthly, between the 1st and the 5th of each month




00078700.pdf                                                                                        Ghanem-00072443
                                         Ghanem_Sentencing_00000962
Case 2:15-cr-00704-SJO Document 431-10 Filed 05/13/19 Page 68 of 86 Page ID #:6383



      in cash against receipt or by wire transfer to the following bank account: Hanco RUMlNAHUl,
      acc.N 8018625204 code CORRIENTE
                    Each party shall be responsible for its o,"n taxes, sociaJ security payments and/or
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      heirs claim against the Mandator any payments for compensation, damage etc. , the Mandator is
      enlitle<l lo a compensation lump sum against the Contractor's properly/inheritance lo lhe amount of
      the claims.

              9.     Independent Contractor:  Contractor acknowledges that he shall perform his
      obligations hereunder as an independent contractor and not as an employee nor agent of the
      Mandator Contractor further acknowledge that he is not on Mandator's payroJl and social security
      or tax withholding rolls.

               10.       This contract is terminated:
                     -   upon its term expiration;
                     -   by unilateral notification by the Mandat:or in case the ContTactor fails to provide the
                         required quality of Services - in such case the performance deposit of the Contractor
                         serves as a compensation to the Mandator.

               11. All disputes that may arise in connection with the performance of the present contract
      shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
      shall be governed by and construed in accordance with Serbian Law by the couns in Belgrade.

      This Agreement has been signed in two uniform copies, for each of the Pa1ties.


      For and on behalf of the Mandator.                                Contractor:


      Name: Banari Sergiu                                              Name: Garces Onate Manuel Mesias

      Signature: ... ..... ....................... .                   Signature: ... ..... . ... ................... .


      For and on behalf of the Mandator:                      Contractor:




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                                                                                                              Ghanem-00072443
                                             Ghanem_Sentencing_00000963
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                                        NON - DISCLOSURE AGREEMENT
          On this 04 May 2015, between
           l. Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P.0 . Box 950601 Amman 111 95 Jordan, hereinafter referred to as "Mandator" as
          one of the parties,
          and
          2. OcanaMontesdeocaWuilson Tarquino, born on 21 . 11.1965, having passpon AS5l73 l3 issued by
          ECU, with permanent address at Ecuador,Latacunga str. Benjamin Teran, hereinafter referred to as
          ''Contractor" as the other party,
                                                        Preamble
          WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the "Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator' s organisational structure and operations, including financial and
          accounting information, descriptions of equipment, information regarding human resources,
           available inventory, operational methods and technological solutions, as well as cases from the
           Mandator' s practices (subsequently referred to as '·information");
           WHEREAS, for the purposes of this Agreement information means any and all information in
           whatever form disclosed orally or in ·writing/electronically, together any reproductions or such
           information in any form or medium or any part of such information, whether disclosed before or
           after the date of this Agreement.
          The Parties NOW THEREFORE agree as follo ws:
           Art 1. Subject of the Agreement
           I.The Parties agree that either Par1y recei ving information from other Party shall treat this
           information as entrusted business secrets with strictest confidentially, shall not disclose this
           information to any third party and shall take all necessary precautions that no unauthorised person
           recei ves knowledge thereof.
           2. At the same time, each Party hereto shall treat the existence and content of this Confidentiality
           agreement as confidential with respect to third parties.
           Art.2. Obligations of the parties
           I . Both Parties undertake to treat the other Party 's information a5 confidential for an unlimited
           period of time, to use it solely for the purpose of performing the obligati ons undertaken according
           to any oral or wrinen agreements between the Parties.
           2. Under any circumstances either of the Parties is not allowed to disclose any information or part of
           it to any third party. For the purpose of this agreement "third party" includes any family members
           and any other contractors of the same Mandator.
          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other Party
           in their possession. Either Party is obliged to destroy immediately any information in its possession
          ·when it is endangered of transfer to any third Party. For the purpose of this agreement any and all
           disclosures and or transfers of information to any third party shall constitute a wilful misconduct in
           breach of this agreement.
           4. The obligation to maintain confidentiality under this agreement shall not apply to:
                 a) Information that is generally available to the public other than as a breach of thjs
                    Confidentiality agreement:
                 b) Information that was already lawfully in the possession of either of the Parties hereto prior
                    to the effecti ve dare of this Confidentiality agreement without ha,~ng been obtained from
                    the other Party or from an associate of the other Party.
           5. Evidence that one of the foregoing exceptions applies shall be available before use or disclosure
           of the information.
          6. Prior to the termination of all existing agreements between the Par1ies, besides this Agreement,




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                                          Ghanem_Sentencing_00000964
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      the Contractor undertakes to immediately return to the Mandator any and all information.
      Art.3. Sanctions
      l . Should any breach of thjs agreement occurs, the defaulting Party is obljged to compensate the
      other Parry with the payment of a lump sum to the amount of 30 000 $
      2. The above-stated payment does not bar the other Party to seek further compemation to the
      amount of the losses suffered and missed profits.
      3. The payments wider this article do not exhaust the sanctions against the defaulting Party. The
      other Party is entitled to procure criminal proceedings according to the applicable law.
      Art.4. Settlement of Disputes
      l . All ilispules that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements s hall be
      governed by and construed in accordance with Libiyan Law.
      2.       In the event that a dispute arises in connection with the interpretation and implementation of
      this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise it shall
      be finally settled by the proper Tripoli Court .
      Art.5. Entire agreement
      This agreement constitutes the entire understanding between the Mandator and the Contractor and
      cannot be altered and modified except by an agreement in writing signed by both parties.
      Art.6. Severability
      l . Should one or more of the provision of this Agreement be held unenforceable or invalid for any
      reason, the remaining provisions shall remain unaffected.
      2. Taking i.nto account the economic purpose of this contract and utilising 1he legal methods of the
      interpretation, conversion and amendment, the parties w1derta.ke to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives eJiect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.
      This Agreement has been s igned in two uniform copies, for each of the Parties.


      For and on behalf of the Mandator.                               Contractor:


      Narne:Banari Sergiu                                             Name: Ocana MontesdeocaWuilson
                                                                      Tarquino

      Signature: ... ............ .... ...... .. ... ..               Signature: ... ... .................. ...... ..


      For and on behalf of the Mandator:                     Contractor:




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                                                                                                             Ghanem-00072443
                                                Ghanem_Sentencing_00000965
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                                        NON - DISCLOSURE AGREEMENT
          On this 04 May 2015, between
           l. Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
           Hamid Sharaf St. P.0 . Box 950601 Amman 111 95 Jordan, hereinafter referred to as "Mandator" as
          one of the parties,
          and
           2. Tulcan Pozo Jose Miguel, born on 13.10.1961 , having passport A 5501106 issued by ECU, with
           permanent address at Ecuador, Guayaquil str. Sauces 5, MZ 240, ViUa 6 hereinafter referred to as
          "Contractor" as the other party,
                                                          Preamble
           WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the "Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator' s organisational structure and operations, including financial and
          accounting information, descriptions of equipment, information regarding human resources,
          available inventory, operational methods and technological solutions, as well as cases from the
           Mandator' s practices (subsequently referred to as ' ·information");
           WHEREAS, for the purposes of this Agreement information means any and all information in
           whatever form disclosed orally or in ·writing/electronically, together any reproductions or such
           information in any form or medium or any part of such information, whether disclosed before or
          after the date of this Agreement.
          The Parties NOW THEREFORE agree as follows:
           Art 1. Subject of the Agreement
           I.The Parties agree that either Par1y recei ving information from other Party shall treat this
           information as entrusted business secrets with strictest confidentially, shall not disclose this
           information to any third party and shall take all necessary precautions that no unauthorised person
           recei ves knowledge thereof.
           2. At the same time, each Party hereto shall treat the existence and content of this Confidentiality
          agreement as confidential with respect to third parties.
           Art.2. Obligations of the parties
           I . Both Parties undertake to treat the other Party's information a5 confidential for an unlimited
           period of time, to use it solely for the purpose of performing the obligations undertaken according
           to any oral or wrinen agreements between the Parties.
           2. Under any circumstances either of the Parties is not allowed to disclose any information or part of
           it to any third party. For the purpose of this agreement "third party" includes any family members
          and any other contractors of the same Mandator.
          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other Party
           in their possession. Either Party is obliged to destroy immediately any information in its possession
          ·when it is endangered of transfer to any third Party. For the purpose of this agreement any and all
          disclosures and or transfers of information to any third party shall constitute a wilful misconduct in
           breach of this agreement.
           4. The obligation to maintain confidentiality under this agreement shall not apply to:
                 a) Information that is generally available to the public other than as a breach of thjs
                    Confidentiality agreement:
                 b) Information that was already lawfully in the possession of either of the Parties hereto prior
                    to the effective dare of this Confidentiality agreement without ha,~ng been obtained from
                    the other Party or from an associate of the other Party.
          5. Evidence that one of the foregoing exceptions applies shall be available before use or disclosure
          of the information.
          6. Prior to the termination of all existing agreements between the Parties, besides this Agreement,




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                                          Ghanem_Sentencing_00000966
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      the Contractor undertakes to immediately return to the Mandator any and all information.
      Art.3. Sanctions
      l . Should any breach of thjs agreement occurs, the defaulting Party is obljged to compensate the
      other Parry with the payment of a lump sum to the amount of 30 000 $
      2. The above-stated payment does not bar the other Party to seek further compemation to the
      amount of the losses suffered and missed profits.
      3. The payments wider this article do not exhaust the sanctions against the defaulting Party. The
      other Party is entitled to procure criminal proceedings according to the applicable law.
      Art.4. Settlement of Disputes
      l . All ilispules that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements s hall be
      governed by and construed in accordance with Libiyan Law.
      2.       In the event that a dispute arises in connection with the interpretation and implementation of
      this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise it shall
      be finally settled by the proper Tripoli Court .
      Art.5. Entire agreement
      This agreement constitutes the entire understanding between the Mandator and the Contractor and
      cannot be altered and modified except by an agreement in writing signed by both parties.
      Art.6. Severability
      l . Should one or more of the provision of this Agreement be held unenforceable or invalid for any
      reason, the remaining provisions shall remain unaffected.
      2. Taking i.nto account the economic purpose of this contract and utilising 1he legal methods of the
      interpretation, conversion and amendment, the parties w1derta.ke to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives eJiect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.
      This Agreement has been s igned in two uniform copies, for each of the Parties.


      For and on behalf of the Mandator.                               Contractor:


      Name:Banari Sergiu                                              Name: Tulcan Pozo Jose
                                                                      Miguel

      Signature: ... ............ .... ...... .. ... ..               Signature: .... .. ... ... ... . .. .. .... ... .. .. .


      For and on behalf of the Mandator:                     Contractor:




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                                                Ghanem_Sentencing_00000967
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                                        NON - DISCLOSURE AGREEMENT
          On this 04 May 2015, between
           l. Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
           Hamid Sharaf St. P.0 . Box 950601 Amman 111 95 Jordan, hereinafter referred to as "Mandator" as
          one of the parties,
          and
           2. Garces Onate Manuel Mesias, born on 10.02.1 957, having passport A 5189834 issued by ECU,
           with permanent address at Ecuador, Milagro, Ciudadela Los Helechos MZ 4, Villa 5 hereinafter
           referred to as "Contractor" as the other party,
                                                           Preamble
           WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the "Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator' s organisational structure and operations, including financial and
          accounting information, descriptions of equipment, information regarding human resources,
          available inventory, operational methods and technological solutions, as well as cases from the
           Mandator' s practices (subsequently referred to as ' ·information");
           WHEREAS, for the purposes of this Agreement information means any and all information in
           whatever form disclosed orally or in ·writing/electronically, together any reproductions or such
           information in any form or medium or any part of such information, whether disclosed before or
          after the date of this Agreement.
          The Parties NOW THEREFORE agree as follo ws:
           Art 1. Subject of the Agreement
           I.The Parties agree that either Par1y recei ving information from other Party shall treat this
           information as entrusted business secrets with strictest confidentially, shall not disclose this
           information to any third party and shall take all necessary precautions that no unauthorised person
           recei ves knowledge thereof.
           2. At the same time, each Party hereto shall treat the existence and content of this Confidentiality
          agreement as confidential with respect to third parties.
           Art.2. Obligations of the parties
           I . Both Parties undertake to treat the other Party 's information a5 confidential for an unlimited
           period of time, to use it solely for the purpose of performing the obligati ons undertaken according
           to any oral or wrinen agreements between the Parties.
           2. Under any circumstances either of the Parties is not allowed to disclose any information or part of
           it to any third party. For the purpose of this agreement "third party" includes any family members
          and any other contractors of the same Mandator.
          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other Party
           in their possession. Either Party is obliged to destroy immediately any information in its possession
          ·when it is endangered of transfer to any third Party. For the purpose of this agreement any and all
          disclosures and or transfers of information to any third party shall constitute a wilful misconduct in
           breach of this agreement
           4. The obligation to maintain confidentiality under this agreement shall not apply to:
                 a) Information that is generally available to the public other than as a breach of thjs
                    Confidentiality agreement:
                 b) Information that was already lawfully in the possession of either of the Parties hereto prior
                    to the effecti ve dare of this Confidentiality agreement without ha,~ng been obtained from
                    the other Party or from an associate of the other Party.
          5. Evidence that one of the foregoing exceptions applies shall be available before use or disclosure
          of the information.
          6. Prior to the termination of all existing agreements between the Parties, besides this Agreement,




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                                          Ghanem_Sentencing_00000968
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      the Contractor undertakes to immediately return to the Mandator any and all information.
      Art.3. Sanctions
      l . Should any breach of thjs agreement occurs, the defaulting Party is obljged to compensate the
      other Parry with the payment of a lump sum to the amount of 30 000 $
      2. The above-stated payment does not bar the other Party to seek further compemation to the
      amount of the losses suffered and missed profits.
      3. The payments wider this article do not exhaust the sanctions against the defaulting Party. The
      other Party is entitled to procure criminal proceedings according to the applicable law.
      Art.4. Settlement of Disputes
      l . All ilispules that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements s hall be
      governed by and construed in accordance with Libiyan Law.
      2.       In the event that a dispute arises in connection with the interpretation and implementation of
      this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise it shall
      be finally settled by the proper Tripoli Court .
      Art.5. Entire agreement
      This agreement constitutes the entire understanding between the Mandator and the Contractor and
      cannot be altered and modified except by an agreement in writing signed by both parties.
      Art.6. Severability
      l . Should one or more of the provision of this Agreement be held unenforceable or invalid for any
      reason, the remaining provisions shall remain unaffected.
      2. Taking i.nto account the economic purpose of this contract and utilising 1he legal methods of the
      interpretation, conversion and amendment, the parties w1derta.ke to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives eJiect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.
      This Agreement has been s igned in two uniform copies, for each of the Parties.


      For and on behalf of the Mandator.                               Contractor:


      Name:Banari Sergiu                                              Name: Tulcan Pozo Jose
                                                                      Miguel

      Signature: ... ............ .... ...... .. ... ..               Signature: ... ... .................. ...... ..


      For and on behalf of the Mandator:                     Contractor:




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                                                Ghanem_Sentencing_00000969
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                                        NON - DISCLOSURE AGREEMENT
          On this 04 May 2015, between
           l. Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
           Hamid Sharaf St. P.0 . Box 950601 Amman 111 95 Jordan, hereinafter referred to as "Mandator" as
          one of the parties,
          and
           2. Salazar Reyes Milton Orlando, born on 04.06.1 963, having passport A 5517073 issued by ECU,
           with permanent address at Ecuador, Guayaquil, Ciudadela Centenario hereinafter referred to as
          ''Contractor" as the other party,
                                                          Preamble
           WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the "Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator' s organisational structure and operations, including financial and
          accounting information, descriptions of equipment, information regarding human resources,
          available inventory, operational methods and technological solutions, as well as cases from the
           Mandator' s practices (subsequently referred to as ' ·information");
           WHEREAS, for the purposes of this Agreement information means any and all information in
           whatever form disclosed orally or in ·writing/electronically, together any reproductions or such
           information in any form or medium or any part of such information, whether disclosed before or
          after the date of this Agreement.
          The Parties NOW THEREFORE agree as follo ws:
           Art 1. Subject of the Agreement
           I.The Parties agree that either Par1y recei ving information from other Party shall treat this
           information as entrusted business secrets with strictest confidentially, shall not disclose this
           information to any third party and shall take all necessary precautions that no unauthorised person
           recei ves knowledge thereof.
           2. At the same time, each Party hereto shall treat the existence and content of this Confidentiality
          agreement as confidential with respect to third parties.
           Art.2. Obligations of the parties
           I . Both Parties undertake to treat the other Party 's information a5 confidential for an unlimited
           period of time, to use it solely for the purpose of performing the obligati ons undertaken according
           to any oral or wrinen agreements between the Parties.
           2. Under any circumstances either of the Parties is not allowed to disclose any information or part of
           it to any third party. For the purpose of this agreement "third party" includes any family members
          and any other contractors of the same Mandator.
          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other Party
           in their possession. Either Party is obliged to destroy immediately any information in its possession
          ·when it is endangered of transfer to any third Party. For the purpose of this agreement any and all
          disclosures and or transfers of information to any third party shall constitute a wilful misconduct in
           breach of this agreement.
           4. The obligation to maintain confidentiality under this agreement shall not apply to:
                 a) Information that is generally available to the public other than as a breach of thjs
                    Confidentiality agreement:
                 b) Information that was already lawfully in the possession of either of the Parties hereto prior
                    to the effecti ve dare of this Confidentiality agreement without ha,~ng been obtained from
                    the other Party or from an associate of the other Party.
          5. Evidence that one of the foregoing exceptions applies shall be available before use or disclosure
          of the information.
          6. Prior to the termination of all existing agreements between the Par1ies, besides this Agreement,




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                                          Ghanem_Sentencing_00000970
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      the Contractor undertakes to immediately return to the Mandator any and all information.
      Art.3. Sanctions
      l . Should any breach of thjs agreement occurs, the defaulting Party is obljged to compensate the
      other Parry with the payment of a lump sum to the amount of 30 000 $
      2. The above-stated payment does not bar the other Party to seek further compemation to the
      amount of the losses suffered and missed profits.
      3. The payments wider this article do not exhaust the sanctions against the defaulting Party. The
      other Party is entitled to procure criminal proceedings according to the applicable law.
      Art.4. Settlement of Disputes
      l . All ilispules that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements s hall be
      governed by and construed in accordance with Libiyan Law.
      2.       In the event that a dispute arises in connection with the interpretation and implementation of
      this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise it shall
      be finally settled by the proper Tripoli Court .
      Art.5. Entire agreement
      This agreement constitutes the entire understanding between the Mandator and the Contractor and
      cannot be altered and modified except by an agreement in writing signed by both parties.
      Art.6. Severability
      l . Should one or more of the provision of this Agreement be held unenforceable or invalid for any
      reason, the remaining provisions shall remain unaffected.
      2. Taking i.nto account the economic purpose of this contract and utilising 1he legal methods of the
      interpretation, conversion and amendment, the parties w1derta.ke to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives eJiect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.
      This Agreement has been s igned in two uniform copies, for each of the Parties.


      For and on behalf of the Mandator.                               Contractor:


      Name: Banari Sergiu                                             Name: Salazar Reyes Milton
                                                                      Orlando

      Signature: ... ............ .... ...... .. ... ..               Signature: ... ... .................. ...... ..


      For and on behalf of the Mandator:                     Contractor:




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                                                Ghanem_Sentencing_00000971
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                                         NON - DISCLOSURE AGREEMENT
          On this 04 May 2015, between
          l. Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P.0 . Box 950601 Amman 111 95 Jordan, hereinafter referred to as "Mandator" as
          one of the parties,
          and
          2. Reyes Cuenca Augusto Borys, born on 28.02.1977, having passport A 2940243 issued by ECU,
          with permanent address at Ecuador, Quito, Street Nazacota Puento N 0£3-498 hereinafter referred
          to as "Contrnctor" as the other party,
                                                        Preamble
          WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the "Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator' s organisational structure and operations, including financial and
          accounting information, descriptions of equipment, information regarding human resources,
           available inventory, operational methods and technological solutions, as well as cases from the
           Mandator' s practices (subsequently referred to as '·information");
           WHEREAS, for the purposes of this Agreement information means any and all information in
           whatever form disclosed orally or in ·writing/electronically, together any reproductions or such
           information in any form or medium or any part of such information, whether disclosed before or
           after the date of this Agreement.
          The Parties NOW THEREFORE agree as follo ws:
           Art 1. Subject of the Agreement
           I.The Parties agree that either Par1y recei ving information from other Party shall treat this
           information as entrusted business secrets with strictest confidentially, shall not disclose this
           information to any third party and shall take all necessary precautions that no unauthorised person
           recei ves knowledge thereof.
           2. At the same time, each Party hereto shall treat the existence and content of this Confidentiality
           agreement as confidential with respect to third parties.
           Art.2. Obligations of the parties
           I . Both Parties undertake to treat the other Party 's information a5 confidential for an unlimited
           period of time, to use it solely for the purpose of performing the obligati ons undertaken according
           to any oral or wrinen agreements between the Parties.
           2. Under any circumstances either of the Parties is not allowed to disclose any information or part of
           it to any third party. For the purpose of this agreement "third party" includes any family members
           and any other contractors of the same Mandator.
          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other Party
           in their possession. Either Party is obliged to destroy immediately any information in its possession
          ·when it is endangered of transfer to any third Party. For the purpose of this agreement any and all
           disclosures and or transfers of information to any third party shall constitute a wilful misconduct in
           breach of this agreement.
           4. The obligation to maintain confidentiality under this agreement shall not apply to:
                 a) Information that is generally available to the public other than as a breach of thjs
                    Confidentiality agreement:
                 b) Information that was already lawfully in the possession of either of the Parties hereto prior
                    to the effecti ve dare of this Confidentiality agreement without ha,~ng been obtained from
                    the other Party or from an associate of the other Party.
           5. Evidence that one of the foregoing exceptions applies shall be available before use or disclosure
           of the information.
          6. Prior to the termination of all existing agreements between the Par1ies, besides this Agreement,




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                                          Ghanem_Sentencing_00000972
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      the Contractor undertakes to immediately return to the Mandator any and all information.
      Art.3. Sanctions
      l . Should any breach of thjs agreement occurs, the defaulting Party is obljged to compensate the
      other Parry with the payment of a lump sum to the amount of 60 000 $
      2. The above-stated payment does not bar the other Party to seek further compemation to the
      amount of the losses suffered and missed profits.
      3. The payments wider this article do not exhaust the sanctions against the defaulting Party. The
      other Party is entitled to procure criminal proceedings according to the applicable law.
      Art.4. Settlement of Disputes
      l . All ilispules that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements s hall be
      governed by and construed in accordance with Libiyan Law.
      2.       In the event that a dispute arises in connection with the interpretation and implementation of
      this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise it shall
      be finally settled by the proper Tripoli Court .
      Art.5. Entire agreement
      This agreement constitutes the entire understanding between the Mandator and the Contractor and
      cannot be altered and modified except by an agreement in writing signed by both parties.
      Art.6. Severability
      l . Should one or more of the provision of this Agreement be held unenforceable or invalid for any
      reason, the remaining provisions shall remain unaffected.
      2. Taking i.nto account the economic purpose of this contract and utilising 1he legal methods of the
      interpretation, conversion and amendment, the parties w1derta.ke to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives eJiect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.
      This Agreement has been s igned in two uniform copies, for each of the Parties.


      For and on behalf of the Mandator.                               Contractor:


      Name: Banari Sergiu                                             Name: Reyes Cuenca Augusto
                                                                      Borys

      Signature: ... ............ .... ...... .. ... ..               Signature: ... ... .................. ...... ..


      For and on behalf of the Mandator:                     Contractor:




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                                        NON - DISCLOSURE AGREEMENT
           On this 04 May 2015, between
           l. Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
           Hamid Sharaf St. P.0 . Box 950601 Amman 11195 Jordan, hereinafter referred to as "Mandator" as
           one of the parties,
           and
           2. Gonzalez Zambrano Joe William, born on 28.11.1964, having passport A 5516960 issued by
          ECU, with permanent address at Ecuador, Milagrohereinafter referred to as '·Contractor" as the
           other par1y,
                                                          Preamble
           WHEREAS, Mandator and Contractor (subsequently referred to individually as "Party" and
          collectively as the "Parties") intend to work together on various projects and will for that purpose
          exchange confidential documents and or information of any kind including, but not limited to:
          everything related to the Mandator' s organisational structure and operations, including financial and
           accounting information, descriptions of equipment, information regarding human resources,
           available inventory, operational methods and technological solutions, as well as cases from the
           Mandator' s practices (subsequently referred to as '·information");
           WHEREAS, for the purposes of this Agreement information means any and all information in
           whatever form disclosed orally or in ·writing/electronically, together any reproductions or such
           information in any form or medium or any part of such information, whether disclosed before or
           after the date of this Agreement.
          The Parties NOW THEREFORE agree as follows:
           Art 1. Subject of the Agreement
           I.The Parties agree that either Par1y recei ving information from other Party shall treat this
           information as entrusted business secrets with strictest confidentially, shall not disclose this
           information to any third party and shall take all necessary precautions that no unauthorised person
           receives knowledge thereof.
           2. At the same time, each Party hereto shall treat the existence and content of this Confidentiality
           agreement as confidential with respect to third parties.
           Art.2. Obligations of the parties
           I . Both Parties undertake to treat the other Party's information a5 confidential for an unlimited
           period of time, to use it solely for the purpose of performing the obligations undertaken according
           to any oral or wrinen agreements between the Parties.
           2. Under any circumstances either of the Parties is not allowed to disclose any information or part of
           it to any third party. For the purpose of this agreement "third party" includes any family members
           and any other contractors of the same Mandator.
          3. Both Parties are obliged to pay all necessary efforts to protect the information of the other Party
           in their possession. Either Party is obliged to destroy immediately any information in its possession
          ·when it is endangered of transfer to any third Party. For the purpose of this agreement any and all
           disclosures and or transfers of information to any third party shall constitute a wilful misconduct in
           breach of this agreement.
           4. The obligation to maintain confidentiality under this agreement shall not apply to:
                 a) Information that is generally available to the public other than as a breach of thjs
                    Confidentiality agreement:
                 b) Information that was already lawfully in the possession of either of the Parties hereto prior
                    to the effective dare of this Confidentiality agreement without ha,~ng been obtained from
                    the other Party or from an associate of the other Party.
           5. Evidence that one of the foregoing exceptions applies shall be available before use or disclosure
          of the information.
          6. Prior to the termination of all existing agreements between the Par1ies, besides this Agreement,




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      the Contractor undertakes to immediately return to the Mandator any and all information.
      Art.3. Sanctions
      l . Should any breach of thjs agreement occurs, the defaulting Party is obljged to compensate the
      other Parry with the payment of a lump sum to the amount of 30 000 $
      2. The above-stated payment does not bar the other Party to seek further compemation to the
      amount of the losses suffered and missed profits.
      3. The payments wider this article do not exhaust the sanctions against the defaulting Party. The
      other Party is entitled to procure criminal proceedings according to the applicable law.
      Art.4. Settlement of Disputes
      l . All ilispules that may arise in connection with the performance of the present contract shall be
      settled in the way of agreement. If this proves impossible all disputes and disagreements s hall be
      governed by and construed in accordance with Libiyan Law.
      2.       In the event that a dispute arises in connection with the interpretation and implementation of
      this Agreement, the Parties should in good faith negotiate and resolve this dispute, otherwise it shaJl
      be finally settled by the proper Tripoli Court .
      Art.5. Entire agreement
      This agreement constitutes the entire understanding between the Mandator and the Contractor and
      cannot be altered and modified except by an agreement in writing signed by both parties.
      Art.6. Severability
      l . Should one or more of the provision of this Agreement be held unenforceable or invalid for any
      reason, the remaining provisions shall remain unaffected.
      2. Taking i.nto account the economic purpose of this contract and utilising 1he legal methods of the
      interpretation, conversion and amendment, the parties w1derta.ke to replace an invalid or
      unenforceable provisions that corresponds as closely as possible to the invalid or unenforceable
      provision and gives eJiect as far as possible to intentions of the Parties. The valid provision will
      take effect in the future.
      This Agreement has been s igned in two uniform copies, for each of the Parties.


      For and on behalf of the Mandator.                               Contractor:


      Name: Banari Sergiu                                             Na.me: Gonzalez Zambrano Joe
                                                                      William

      Signature: ... ............ .... ...... .. ... ..               Signature: ... ... .................. ...... ..


      For and on behalf of the Mandator:                     Contractor:




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                                       Tl::::CHNICAL SERVICES CONTRACT

                  On this 04 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P 0 . Box 950601 Amman 11195 Jordan, hereinafter referred 10 as "Mandator" as
          one of the parties,
          and
          2. Garces Onate Manuel Mesias, born on 10.02. 1957, having passport A 5189834 issued by ECU,
          with permanent address at Ecuador, Milagro, Ciudadela Los Helechos MZ 4, Villa 5 hereinafter
          referred to as "Contractor" as the olher party,

                   I.    The Mandator requires from lhe Contractor the services of Mechanical Technician,
          Electrical Technician, Radio electrician Technician Cabling (Grid connection) Technician for
          installation, maintenance and repair of new renewable (wind) power station (the " Services").

                 2.     The Contractor, acting as independent contractor, undertakes the provision of the
          services under the conditions of this agreement.

                 3.     The place of the Services is Middle East & North Africa.

                  4.     The contrac1 is valid for 90 days period with posible extencion fo r another 90 days
          Starting date of the Services is the date of Contractor' s arrival at 10.05.2015

                  5.      The Contractor undertakes to execute any and all of his obligations under this
          agreement with due diligence, at the highest professional level, with skill and to the best of his
          ability, while maintaining a high professional standard, all subject and in accordance with the
          Mandator' s needs, instructions and supervision.
                          While delivering the Services, the Contractor shall be full y under the operational
          control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who
          will be solely responsible for their supervision, daily direction and control.
                          Services shall be delivered on 24/7 hasis.

                 6.      The Mandator undenakes to provide the Contractor with all the materials,
          consumables, etc., concerning 1he provision of the Services. as well as any information, required by
          the Contractor, necessary for the proper performance of his duties.
                         The Manda!or undertakes to position the Contraclor for execution of the Services in
          operational and equipped maintenance warehouses in a zone free from hostile activities.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitality of minimum 3 star accommodation on room and board basis;
                 - life insurance:
                     health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost

                  7.     Remuneration of the Contractor for due delivery of his Services is agreed to be 10
          000 $ monthly.
                         As a guarantee for the due performance of this agreement a 15% deposit is to be
          withhold from each payment by the Mandator and shall be payed upon the Contrnctor's obligations
          fulfillment and termination of this agreement.
                         Payment of the remuneration is monthly, between the 1st and the 5th of each month




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      in cash against receipt or by wire transfer to the following bank account: Hanco RUMlNAHUl,
      acc.N 8018625204 code CORRIENTE
                    Each party shall be responsible for its o,"n taxes, sociaJ security payments and/or
      banking charges, etc. , in relation to this agreement.

              8.      The Contractor fully indemnifies the Mandator for any and all damages to health,
      life, profits, equipment and personal belongings, given the life and health insurance policies are
      validly issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the
      heirs claim against the Mandator any payments for compensation, damage etc. , the Mandator is
      enlitle<l lo a compensation lump sum against the Contractor's properly/inheritance lo lhe amount of
      the claims.

              9.     Independent Contractor:  Contractor acknowledges that he shall perform his
      obligations hereunder as an independent contractor and not as an employee nor agent of the
      Mandator Contractor further acknowledge that he is not on Mandator's payroJl and social security
      or tax withholding rolls.

               10.       This contract is terminated:
                     -   upon its term expiration;
                     -   by unilateral notification by the Mandat:or in case the ContTactor fails to provide the
                         required quality of Services - in such case the performance deposit of the Contractor
                         serves as a compensation to the Mandator.

               11. All disputes that may arise in connection with the performance of the present contract
      shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
      shall be governed by and construed in accordance with Serbian Law by the couns in Belgrade.

      This Agreement has been signed in two uniform copies, for each of the Pa1ties.


      For and on behalf of the Mandator.                                Contractor:


      Name: Banari Sergiu                                              Name: Garces Onate Manuel Mesias

      Signature: ... ..... ....................... .                   Signature: ... ..... . ... ................... .


      For and on behalf of the Mandator:                      Contractor:




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                                       Tl::::CHNICAL SERVICES CONTRACT

                  On this 04 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P 0 . Box 950601 Amman 11195 Jordan, hereinafter referred 10 as " Mandator" as
          one of the parties,
          and
          2. Gonzalez Zambrano Joe William, born on 28. l 1.1964, having passport A 5516960 issued by
          ECU, with permanent address at Ecuador, Milagro, hereinafter referred to as "Contractor" as the
          olher party,

                  I.     The Mandator requires from the Contractor the services of Mechanical Technician,
          Electrical Technician, Radio electrician Technician Cabling     (Grid connection) Technician for
          installation, maintenance and repair of new renewable (wind) power stalion (the " Services").

                 2.     The Contractor, acting as independent contractor, undertakes the provision of the
          services under the conditions of this agreement.

                 3.     The place of the Services is Middle East & North Africa.

                  4.     The contract is valid for 90 days period with posible extencion fo r another 90 days
          Starting date of the Services is the date of Contractor's arrival at 10.05.2015

                  5.      The Contractor undertakes to execute any and all of his obligations under this
          agreement with due diligence, at the highest professional level, with skill and to the best of his
          ability, while maintaining a high professional standard, all subject and in accordance w ith the
          Mandator' s needs, instructions and supervision.
                          While delivering the Services, the Contractor shall be full y under the operational
          control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who
          will be solely responsible for their supervision, daily direction and control.
                          Services shall be delivered on 24/7 hasis.

                 6.      The Mandator undenakes to provide the Contractor with all the materials,
          consumables, etc., concerning the provision of the Services. as well as any information, required by
          the Contractor, necessary for the proper performance of his d uties.
                         The Manda!or undertakes lo position the Contractor for execution of the Services in
          operational and equipped maintenance warehouses in a zone free from hostile activities.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitality of minimum 3 star accommodation on room and board basis;
                 - life insurance:
                     health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost

                  7.     Remuneration of the Contractor for due delivery of his Services is agreed to be 10
          000 $ monthly.
                         As a guarantee for the due performance of this agreement a 15% deposit is to be
          withhold from each payment by the Mandator and shall be payed upon the Contrnctor' s obligations
          fulfillment and termination of this agreement.
                         Payment of the remuneration is monthly, between the 1st and the 5th of each month




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      in cash against receipt or by wire transfer to the following bank account: Hanco RUMlNAHUl,
      acc. N 81 0l l 17600 code AHORROS
                         Each party shall be responsible for its own taxes, sociaJ security payments and/or
      banking charges, etc. , in relation to this agreement.

              8.      The Contractor fully indemnifies the Mandator for any and all damages to health,
      life, profits, equipment and personal belongings, given the life and health insurance policies are
      validly issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the
      heirs claim against the Mandator any payments for compensation, damage etc. , the Mandator is
      enlitle<l lo a compensation lump sum against the Contractor's properly/inheritance lo lhe amount of
      the claims.

              9.     Independent Contractor:  Contractor acknowledges that he shall perform his
      obligations hereunder as an independent contractor and not as an employee nor agent of the
      Mandator Contractor further acknowledge that he is not on Mandator's payroJl and social security
      or tax withholding rolls.

               10.       This contract is terminated:
                     -   upon its term expiration;
                     -   by unilateral notification by the Mandat:or in case the ContTactor fails to provide the
                         required quality of Services - in such case the performance deposit of the Contractor
                         serves as a compensation to the Mandator.

              11. All disputes that may arise in connection with the performance of the present contract
      shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
      shall be governed by and construed in accordance with Serbian Law by the couns in Belgrade.

      This Agreement has been signed in two uniform copies, for each of the Pa1ties.


      For and on behalf of the Mandator.                                Contractor:


      Name: Banari Sergiu                                              Name: Gonzalez Zambrano Joe
                                                                       William

      Signature:..... . ......................... .                    Signature: ... ............ ... .. . ... .. ..... .


      For and on behalf of the Mandator:                       Contractor:




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                                       Tl::::CHNICAL SERVICES CONTRACT

                  On this 04 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P 0 . Box 950601 Amman 11195 Jordan, hereinafter referred 10 as "Mandator" as
          one of the parties,
          and
          2. Ocana Montesdeoca Wuilson Tarquino, born on 21.11.1965, having passport A 5517313 issued
          by ECU, with permanent address at Ecuador,Latacunga s1r. Benjamin Teran. hereinafter referred to
          as " ConLractor" as Lhe other party,

                   I.    The Mandator requires from the Contractor the services of Mechanical Technician,
          Electrical Technician, Radio electrician Technician Cabling (Grid connection) Technician for
          installation, maintenance and repair of new renewable (wind) power station (the " Services").

                 2.     The Contractor, acting as independent contractor, undertakes the provision of the
          services under the conditions of this agreement.

                 3.     The place of the Services is Middle East & North Africa.

                  4.     The contrac1 is valid for 90 days period with posible extencion fo r another 90 days
          Starting date of the Services is the date of Contractor' s arrival at 10.05.2015

                  5.      The Contractor undertakes to execute any and all of his obligations under this
          agreement with due diligence, at the highest professional level, with skill and to the best of his
          ability, while maintaining a high professional standard, all subject and in accordance with the
          Mandator' s needs, instructions and supervision.
                          While delivering the Services, the Contractor shall be full y under the operational
          control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who
          will be solely responsible for their supervision, daily direction and control.
                          Services shall be delivered on 24/7 hasis.

                 6.      The Mandator undenakes to provide the Contractor with all the materials,
          consumables, etc., concerning 1he provision of the Services. as well as any information, required by
          the Contractor, necessary for the proper performance of his duties.
                         The Manda!or undertakes lo position the Conlraclor for execution of the Services in
          operational and equipped maintenance warehouses in a zone free from hostile activities.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitali1Y of minimum 3 star accommodation on room and board basis;
                 - life insurance:
                     health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost

                  7.     Remuneration of the Contractor for due delivery of his Services is agreed to be 10
          000 $ monthly.
                         As a guarantee for the due performance of this agreement a 15% deposit is to be
          withhold from each payment by the Mandator and shall be payed upon the Contrnctor' s obligations
          fulfillment and termination of this agreement.
                         Payment of the remuneration is monthly, between the 1st and the 5th of each month




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      in cash against receipt or by wire transfer to the following bank account: Banco Ruminahui, acc.N
      8049641400 codeAHORROS
                  Each party shall be responsible for its o,"n taxes, sociaJ security payments and/or
      banking charges, etc. , in relation to this agreement.

              8.      The Contractor fully indemnifies the Mandator for any and all damages to health,
      life, profits, equipment and personal belongings, given the life and health insurance policies are
      validly issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the
      heirs claim against the Mandator any payments for compensation, damage etc. , the Mandator is
      enlitle<l lo a compensation lump sum against the Contractor's properly/inheritance lo lhe amount of
      the claims.

              9.     Independent Contractor: Contractor acknowledges that he shall perform his
      obligations hereunder as an independent contractor and not as an employee nor agent of the
      Mandator Contractor further acknowledge that he is not on Mandator's payroJl and social security
      or tax withholding rolls.

               10.       This contract is terminated:
                     -   upon its term expiration;
                     -   by unilateral notification by the Mandat:or in case the ContTactor fails to provide the
                         required quality of Services - in such case the performance deposit of the Contractor
                         serves as a compensation to the Mandator.

              11. All disputes that may arise in connection with the performance of the present contract
      shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
      shall be governed by and construed in accordance with Serbian Law by the couns in Belgrade.

      This Agreement has been signed in two uniform copies, for each of the Pa1ties.


      For and on behalf of the Mandator.                                Contractor:


      Name: Banari Sergiu                                              Name: Ocana Montesdeoca Wuilson
                                                                       Tarquino

      Signature: .... .......................... ..                    Signature: ................... ............ .


      For and on behalf of the Mandator:                       Contractor:




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